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   IT IS ORDERED as set forth below:



   Date: April 4, 2022
                                                          _________________________________

                                                                     Paul W. Bonapfel
                                                               U.S. Bankruptcy Court Judge
 _______________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:

KAMRAN LIAQUAT KURANI,                                         CASE NO. 22-50579-PWB

          Debtor.                                              CHAPTER 7

 ORDER AUTHORIZING BANKRUPTCY RULE 2004 EXAMINATION OF DEBTOR

         THIS MATTER is before the Court on Ascentium Capital LLC’s Motion for an Order

Authorizing the Examination of the Debtor Pursuant to Federal Rule of Bankruptcy Procedure

2004 [Doc. 16]. Having reviewed and considered this Motion, the Court finds good cause to grant

the requested relief. Accordingly, IT IS HEREBY

         ORDERED that Ascentium Capital LLC (“Ascentium”) is authorized to examine Debtor

pursuant to Bankruptcy Rule 2004(a) on April 29, 2022, at 10:00 AM, at the law offices of Baker,

Donelson, Bearman, Caldwell & Berkowitz, P.C., 3414 Peachtree Road, NE, Suite 1500, Monarch

Plaza, Atlanta, Georgia, or at mutually agreeable time, date, and location; it is further




                                                  1
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          ORDERED that Debtor is directed to appear for the examination set forth above; it is

further

          ORDERED that Debtor is directed to produce all documents listed on the Motion’s Exhibit

1 to Ascentium’s counsel on or before April 22, 2022, or on a mutually agreeable date.

                                      ## END OF ORDER ##


Order prepared and presented by:

/s/ Tim Colletti
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